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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   GABRIELA SOLANO, on behalf of                Case No. 2:21-cv-01576-AB (KSx)
     her herself and those similarly situated,
12                                                ORDER DENYING DEFENDANTS’
                                                  MOTION TO DISMISS PLAINTIFF’S
13                             Plaintiff,         COMPLAINT [19]
14
     v.
15
16   U.S. IMMIGRATION AND
     CUSTOMS ENFORCEMENT; TAE
17
     D. JOHNSON, Acting Director of U.S.
18   Immigration and Customs
     Enforcement; DAVID MARIN,
19
     Director of Los Angeles Field Office,
20   U.S. Immigration and Customs
     Enforcement; DAVID JENNINGS,
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     Director of San Francisco Field Office,
22   U.S. Immigration and Customs
     Enforcement.
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25                             Defendants.
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1            Before the Court is Defendants U.S. Immigration and Customs Enforcement
2    (“ICE”), Tae D. Johnson, David Marin, and David Jennings’ (together with ICE,
3    “Defendants”) Motion to Dismiss Plaintiff Gabriela Solano’s (“Plaintiff”) Complaint.
4    (“Motion” or “Mot.,” Dkt. No 19.) Plaintiff opposed, (“Opp’n,” Dkt. No. 24), and
5    Defendants replied, (“Reply,” Dkt. No. 28.) The Court heard oral argument on
6    August 6, 2021 and took the matter under submission. See Dkt. No. 34. For the
7    reasons stated below, the Court DENIES Defendants’ Motion.
8       I.      BACKGROUND
9
                a. Factual Background
10
             The following allegations are taken from Plaintiff’s Complaint. (“Compl.,” or
11
     “Complaint,” Dkt. No. 1.) The Immigration and Nationality Act (“INA”) and its
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     implementing regulations set forth the authority of federal agencies to arrest
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     individuals for alleged violations of the INA. (Compl. ¶ 18.) ICE may arrest an
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     individual for civil immigration violations with or without a warrant pursuant to
15
     certain conditions. (Id. ¶ 19.) The INA provides that only “officers” or “employees
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     of the Service” may arrest these individuals. (Id. ¶ 20.) Private contractors like G4S
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     and its employees are not authorized under the INA to make either warrantless arrests
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     or to make arrests based on warrants. (Id. ¶ 27.)
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             Since at least 2016, Defendants have routinely and systematically directed and
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     retained employees of G4S to arrest individuals at jails and prisons in California for
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     immigration enforcement purposes and without any ICE immigration officer present.
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     (Id. ¶ 28.) Defendant’s “Private Contractor Arrest Policy” is reflected in a contract
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     between ICE and G4S, a variety of documents and forms, and the systematic practice
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     of G4S conducting immigration arrests across many years. (Id. ¶¶ 28–41; 67–81.)
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1             On December 30, 2020, Plaintiff was found suitable for release from state
2    prison by the California parole board. (Id. ¶ 95.) ICE then notified Plaintiff that it
3    intended to detain her for removal proceedings upon her release from state custody.
4    (Id. ¶ 8.) Plaintiff was in the custody of California Department of Corrections and
5    Rehabilitation (“CDCR”) and anticipated that her release date would be on or around
6    March 15, 2020, at which point she faced an imminent threat of arrest pursuant to the
7    Private Contractor Arrest Policy. (Id. ¶¶ 8, 89, 96.)
8                  b. Procedural Background
9             On February 19, 2021 Plaintiff filed a Complaint asserting two claims
10   challenging the Private Contractor Arrest Policy: (1) a claim pursuant to the
11   Administrative Procedure Act (“APA”), 5 U.S.C. § 706(2)(A), (C) for ICE’s
12   allegation violation of the INA and its implementing regulations; and (2) a claim
13   pursuant to the Accardi doctrine for ICE’s alleged failure to follow its own regulations
14   or procedures, see Accardi v. Shaughnessy, 347 U.S. 260 (1954). (Id. ¶¶ 108–19.) On
15   June 3, 2021, Defendants filed the instant Motion seeking to dismiss pursuant to
16   Federal Rule of Civil Procedure (“Rule”) 12(b)(1) and 12(b)(6).
17      II.        EVIDENTIARY OBJECTIONS
18            The parties offer numerous objections to the proffered evidence. (See Dkt. 25,
19   29, 32.) It is “often unnecessary and impractical for a court to methodically
20   scrutinize each objection and give a full analysis of each argument raised.” Doe v.
21   Starbucks, Inc., No. SACV 08-00582 AG (CWx), 2009 WL 5183773, at *1 (C.D. Cal.
22   Dec. 18, 2009). Accordingly, to the extent any of the objected-to evidence is relied on
23   in this Order, those objections are OVERRULED. Any remaining objections are also
24   OVERRULED AS MOOT. See Burch v. Regents of Univ. of Cal., 433 F. Supp. 2d
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     1110, 1118, 1122 (E.D. Cal. 2006) (concluding that “the court will [only] proceed
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     with any necessary rulings on defendants’ evidentiary objections”).
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1       III.   LEGAL STANDARD
2       A. Motion to Dismiss: 12(b)(1)
3          Rule 12(b)(1) authorizes a court to dismiss claims over which it lacks subject-
4    matter jurisdiction. A Rule 12(b)(1) challenge may be either facial or factual. Safe
5    Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). In a facial attack, the
6    court may dismiss a complaint when the allegations of and documents attached to the
7    complaint are insufficient to confer subject-matter jurisdiction. See Savage v.
8    Glendale Union High Sch. Dist. No. 205, 343 F.3d 1036, 1039 n.2 (9th Cir. 2003). In
9    this context, all allegations of material fact are taken as true and construed in the light
10   most favorable to the nonmoving party. Fed’n of African Am. Contractors v. City of
11   Oakland, 96 F.3d 1204, 1207 (9th Cir. 1996). In contrast, when a court evaluates a
12   factual challenge to jurisdiction, a court is “free to weigh the evidence and satisfy
13   itself as to the existence of its power to hear the case.” Safe Air for Everyone, 373
14   F.3d at 1039 (“In resolving a factual attack on jurisdiction, the district court may
15   review evidence beyond the complaint without converting the motion to dismiss into a
16   motion for summary judgment.”).
17      B. Motion to Dismiss: 12(b)(6)
18         Rule 8 requires a plaintiff to present a “short and plain statement of the claim
19   showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Under Rule
20   12(b)(6), a defendant may move to dismiss a pleading for “failure to state a claim
21   upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). To defeat a Rule
22   12(b)(6) motion to dismiss, the complaint must provide enough details to “give the
23   defendant fair notice of what the . . . claim is and the grounds upon which it rests.”
24   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). The complaint must also be
25   “plausible on its face,” allowing the court to “draw the reasonable inference that the
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     defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678
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     (2009). “The plausibility standard is not akin to a ‘probability requirement,’ but it
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1    asks for more than a sheer possibility that a defendant has acted unlawfully.” Id.
2    Labels, conclusions, and “a formulaic recitation of the elements of a cause of action
3    will not do.” Twombly, 550 U.S. at 555. When ruling on a Rule 12(b)(6) motion, “a
4    judge must accept as true all of the factual allegations contained in the complaint.”
5    Erickson v. Pardus, 551 U.S. 89, 94 (2007). But a court is “not bound to accept as
6    true a legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678 (2009)
7    (internal quotation marks omitted).
8       IV.     DISCUSSION
9            Defendants move to dismiss all claims pursuant to Rules 12(b)(1) and 12(b)(6).
10   First, Defendants argue there is no Article III case or controversy because the case is
11   moot due to ICE’s “reaffirmed” policy with respect to private contractors and due to
12   Plaintiff’s lack of standing. Second, Defendants argue that the matter is
13   jurisdictionally barred by U.S.C. §§ 1252(g), 1252(a), and 1252(b)(9). Lastly,
14   Defendants argue that APA review is not appropriate here because there is no final
15   agency action and Plaintiff has adequate alternatives. The Court will address each in
16   turn.
17           a. Article III Case or Controversy
18                 i. Mootness
19           Defendants argue that Plaintiff’s claims are moot because on March 24, 2021,
20   ICE reaffirmed a April 2018 notice which stated that only an immigration officer can
21   facilitate a custody transfer. (Mot. at 8.) Defendant further argues that Plaintiff
22   herself was arrested by an ICE officer, rather than a private contractor, and thus there
23   is no longer any basis for the Complaint’s prospective request that the Court declare
24   unlawful her arrest by a private contractor. (Id. at 9.) Plaintiff first responds that
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     because the jurisdictional issue and substantive issues are intertwined and material
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     facts are in dispute, the jurisdictional determination should wait, but even if it were
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     appropriate to resolve the factual questions now, there are still disputes as to whether
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1    the unlawful G4S arrests have ceased and thus dismissal at this stage is premature.
2    (Opp’n at 4.) The Court agrees with Plaintiff.
3          Defendants’ mootness argument presents a factual attack on this Court’s
4    jurisdiction. As stated above, the Court may resolve a factual attack by considering
5    evidence beyond the pleadings without converting the motion into one for summary
6    judgment. Safe Air, 373 F.3d at 1039. However, the Court may not do so when “the
7    jurisdictional issue and substantive issues are so intertwined that the question of
8    jurisdiction is dependent on the resolution of factual issues going to the merits.”
9    Augustine v. United States, 704 F.2d 1074, 1077 (9th Cir. 1983). In such cases, “[a]
10   court may not resolve genuinely disputed facts” at the motion to dismiss stage.
11   Roberts v. Corrothers, 812 F.2d 1173, 1177 (9th Cir. 1987). Rather, “the
12   jurisdictional determination should await a determination of the relevant facts on
13   either a motion going to the merits or at trial.” Augustine, 704 F.2d at 1077. The
14   Court must resolve the motion by “assum[ing] the truth of the allegations in a
15   complaint . . . unless controverted by undisputed facts in the record.” Warren v. Fox
16   Family Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003) (quoting Roberts v.
17   Corrothers, 812 F.2d 1173, 1177 (9th Cir.1987)).
18         Here, the determinative jurisdictional facts go directly to the merits. Whether
19   the Court has subject matter jurisdiction here depends on whether Defendants have
20   ceased the allegedly unlawful conduct. See, e.g., Lopez v. Scully, No. ED CV 18-
21   01274-AB (KKx), 2019 WL 2902696, at *2–3 (C.D. Cal. May 13, 2019) (declining to
22   decide whether case was moot at motion to dismiss stage where the defendant argued
23   it had taken actions that addressed the plaintiff’s claims); Johnson v. Hernandez, 69 F.
24   Supp. 3d 1030, 1034–35 (E.D. Cal. 2014) (same). Accordingly, because the
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     jurisdictional issue is dependent upon the resolution of factual issues going to the
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     merits, the Court must assume the truth of the plaintiff’s allegations unless
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     controverted by undisputed facts in the record. Warren, 328 F.3d at 1139.
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1          Defendants argue that the Court can make a jurisdictional determination
2    because there is no dispute over material facts. First, Defendants argue that there is no
3    dispute that only immigration officials have the authority to make arrests. (Reply at
4    3.) Defendants point to their identical April 2018 and March 2021 notices as support
5    which state that only an immigration officer can facilitate a custody transfer.
6    However, Plaintiff argues that these notices did not stop the action and Defendants
7    continue their Private Contractor Arrest Policy and direct G4S to carry out
8    immigration arrests. (Opp’n at 5.) Plaintiff points to several declarations of
9    immigrants who claim they were arrested by private contractors despite the notices.
10   See Declaration of Israel Fuentes Escobar (Dkt. 24-1); Declaration of Vilath
11   Xayasomloth (Dkt. No. 24-2); Declaration of Adolfo Chavez Flores (Dkt. No. 24-3).
12   Second, Defendants argue that Plaintiff was arrested by an ICE officer, which shows
13   that any Private Contractor Arrest Policy is not in effect. (Mot. at 2.) Defendants
14   point to her administrative warrant as support. However, Plaintiff argues her warrant
15   at the ICE field office in Fresno does not prove she was arrested by an ICE officer
16   because she was incarcerated in Chowchilla. (Opp’n at 7.) Thus, there was no proof
17   that she was transferred from Chowchilla to Fresno by an ICE officer.
18         It appears the parties disagree on whether Defendants continue to utilize private
19   contractors for their arrests despite the April 2018 and March 2021 notices. Each
20   party supports their arguments with declarations beyond the pleadings. See
21   Declaration of Israel Fuentes Escobar (Dkt. 24-1); Declaration of Vilath Xayasomloth
22   (Dkt. No. 24-2); Declaration of Adolfo Chavez Flores (Dkt. No. 24-3); Declaration of
23   Frances Jackson (Dkt. No. 21-1). Since there are genuine disputes regarding material
24   facts going towards the merits and jurisdiction, the Court must assume the truth of
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     Plaintiff’s allegations to determine mootness.
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           The allegations in the Complaint show that ICE employs a Private Contractor
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     Arrest Policy pursuant to which ICE directs private contractors, such as GS4
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1    employees, to conduct immigration arrests. The Court finds that these allegations are
2    enough to show the case is not moot and thus denial at this stage is premature.
3    Allowing the case to proceed to discovery could confirm or deny the alleged policy’s
4    existence and whether Defendants have since ceased implementing the policy.
5          Accordingly, the Court denies the Motion on mootness grounds.
6                 ii. Standing
7          Next, Defendants argue that Plaintiff’s injury was too abstract and speculative
8    to give her legal standing. (Mot. at 11.) At the time Plaintiff filed her Complaint, she
9    was subject to an immigration detainer but had not yet been transferred to ICE
10   custody. (Mot. at 12; Compl. ¶ 8.) Defendants note that the March 2021 notice
11   renders it highly unlikely that private contractor arrests would occur going forward,
12   especially given any such speculation assumes the agency officials would knowingly
13   violate ICE policy. (Mot. at 12.) Plaintiff argues that whether she faced arrest by
14   private contractors is inextricably tied to the merits issue of whether Defendants have
15   a policy of directing such arrests and thus, as with mootness, the Court should refrain
16   from dismissing at this stage and allow for further discovery. (Opp’n at 12). Next,
17   Plaintiff argues that the allegations in her Complaint show that her arrest upon release
18   was very likely, if not certain, and her arrest by a private contractor was highly likely
19   given the contract between G4S and ICE and the fact that there had been other
20   instances of such arrests. (Opp’n at 13–14.) Again, the Court agrees with Plaintiff.
21         To have Article III standing, a plaintiff must demonstrate that: (1) she has
22   suffered an “injury in fact” that is concrete, particularized, and actual or imminent, (2)
23   the injury is “fairly traceable” to the defendant’s conduct, and (3) the injury can be
24   “redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504 U.S. 555,
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     560–61 (1992). A risk of future injury is sufficient to establish standing “if the
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     threatened injury is certainly impending, or there is a substantial risk that the harm
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     will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (internal
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                                                8.
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1    quotation omitted); Cent. Delta Water Agency v. United States, 306 F.3d 938, 947,
2    949 (9th Cir. 2002) (“threatened injury” from governmental action sufficient to
3    establish Article III standing “before the potential harm occurs”). Standing is assessed
4    at the time of filing of the complaint. White v. Lee, 227 F.3d 1214, 1243 (9th Cir.
5    2000).
6          As with Defendant’s mootness argument, Defendant’s attack on standing goes
7    directly to the merits. Whether Plaintiff faced unlawful arrest by private contractors is
8    inextricably tied to the merits issue of whether Defendants have a policy of directing
9    such arrests. Thus, similar to mootness, the Court must resolve the motion by
10   “assum[ing] the truth of the allegations in a complaint . . . unless controverted by
11   undisputed facts in the record.” Warren., 328 F.3d at 1139 (9th Cir. 2003).
12         As stated above, it appears the parties disagree as to the existence of the Private
13   Contractor Arrest Policy and whether Defendant utilized private contractors for their
14   arrests at the time Plaintiff filed her Complaint. Again, each party supports their
15   arguments with declarations beyond the pleadings. See Declarations of Jose Ugalde
16   Tovar (Dkt. No. 24-4); Jose Soto Hernandez (Dkt. No. 24-5); Jacobo Aranda
17   Fernandez (Dkt. No. 24-6); Ri Bahaa Jbara (Dkt. No. 24-7); Adan Castillo Merino
18   (Dkt. No. 24-8); Carlos Munoz (Dkt. No. 24-9); Jose Luis Aguilar Carrion (Dkt. No.
19   24-10); Gabriel Yucute-Camey (Dkt. No. 24-11); Levi Cruz Menjivar (Dkt. No. 24-
20   12); Rachana Duong Dkt. No. 24-13); Kao Nai Saeteurn (Dkt. No. 24-14); Declaration
21   of Frances Jackson (Dkt. No. 21-1). Since there are genuine disputes regarding
22   material facts going towards the merits and standing, the Court must assume the truth
23   of the allegations in the Complaint.
24         In the Complaint, Plaintiff alleges that at the time of filing, Plaintiff faced a
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     “substantial risk” of an unlawful G4S arrest pursuant to the Private Contractor Arrest
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     Policy. (Compl., ¶ 13; Opp’n at 13.) Plaintiff was in CDCR custody at Central
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     California Women’s Facility (“CCWF”), and ICE had informed Plaintiff that it
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1    intended to detain her upon her release from state custody. ICE has contracted with
2    G4S to provide armed detention and transportation services for the San Francisco and
3    Los Angeles Field Offices’ Areas of Responsibility from February 1, 2018 through
4    July 31, 2023, a time period encompassing Plaintiff’s expected release from CDCR
5    custody. (See Compl. ¶¶ 31–33; Opp’n at 13.) Plaintiff alleges numerous instances—
6    including instances within the last few months and, specifically, at CCWF—in which
7    G4S has conducted unlawful immigration arrests. (Compl. ¶¶ 66, 69, 76, 79–81.)
8          Taking the above allegations as true, the Court finds that Plaintiff has alleged
9    enough to show that, at the time of filing, Plaintiff faced a substantial risk that she
10   would be unlawfully arrested by G4S. Contrary to Defendant’s arguments, Plaintiff
11   provides far more than a “string of contingencies” and instead alleges a systemic
12   policy or practice of private contractor arrests. See Melendres v. Arpaio, 695 F.3d
13   990, 998 (9th Cir. 2012) (finding that the defendants “had a policy and practice of
14   violating the Plaintiffs’ Fourth Amendment rights” sufficient to establish standing
15   based on risk of future injury).
16         Accordingly, the Court finds that these allegations are enough to show
17   Plaintiff’s standing and thus, denial at this stage is premature. The Motion is denied
18   on standing grounds.
19         b. Jurisdictional Bars
20                 i. 8 U.S.C. 1252(g)
21         Next, Defendants argue that the Complaint is jurisdictionally barred by Section
22   1252(g) because Plaintiff challenges action taken by Defendants to commence
23   immigration proceedings against her. The Court disagrees.
24         Section 1252(g) is a “narrow” provision that places a jurisdictional bar on
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     claims “arising from decisions to commence proceedings, adjudicate cases, or execute
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     removal orders.” Department of Homeland Security v. Regents of the University of
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     California, 140 S.Ct. 1891, 1907 (2020); 8 U.S.C. § 1252(g). The statute is “directed
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                                                10.
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1    against a particular evil: attempts to impose judicial constraints upon prosecutorial
2    discretion.” Reno v. Am. Arab Anti-Discrimination Comm., 525 U.S. 471, 485 n.9
3    (1999). See Jennings v. Rodriguez, 138 S. Ct. 830, 841 (2018) (emphasizing the
4    difference between “discretionary judgment[s]” and “’challenge[s]’ to statutory
5    framework”).
6          Defendants rely on Reno as an example of the Supreme Court barring
7    jurisdiction for a claim challenging the manner in which defendants were selected for
8    prosecution. However, Reno is distinguishable. There, the plaintiff did challenge the
9    decision to commence proceedings and the Court specified that this “challenge to the
10   Attorney General’s decision” fell within 1252(g).
11         Here, Plaintiff does not challenge the proceedings against her, nor the Attorney
12   General’s discretionary authority. Plaintiff solely challenges the way she was
13   arrested, which is part of the deportation process, but is not barred by Section 1252(g).
14   See United States v. Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004) (allowing a
15   district court jurisdiction for a “purely legal question” that “does not challenge the
16   Attorney General's discretionary authority, even if the answer to that legal
17   question . . . forms the backdrop against which the Attorney General later will
18   exercise discretionary authority).
19         Accordingly, Plaintiff’s Complaint is not barred by Section 1252(g). The
20   Motion is denied based on that ground.
21                ii. 8 U.S.C. §§ 1252(a) and (b)(9)
22         Next, Defendants argue that Plaintiff’s claims arise from removal-related
23   activity and thus they fall within the jurisdiction channeling provisions of Sections
24   1252(a)(5) and (b)(9). (Mot. at 17.) Again, the Court disagrees.
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           All claims that “arise from immigration removal proceedings can only be
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     brought through the petition for review process in the federal courts of appeals.
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     J.E.F.M. v. Lynch, 837 F.3d 1026, 1038 (9th Cir. 2016). See 8 U.S.C. §§ 1252(a)(5),
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                                               11.
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1    (b)(9). However, courts have provided “built-in limits, specifically allowing claims
2    that are independent of or collateral to the removal process[.]’” Gonzalez v. U.S.
3    Immigr. & Customs Enf’t, 975 F.3d 788, 810 (9th Cir. 2020) (holding that
4    noncitizens’ claims “challenging the legality of detention pursuant to an immigration
5    detainer” to be outside of 1252(b)(9)’s scope”). Though the Supreme Court has not
6    adopted a firm definition of “arising from” immigration removal proceedings, it has
7    maintained jurisdiction in a case challenging his and his class member’s detention
8    without bail hearings. Jennings, 138 S. Ct. at 840 (2018). The Supreme Court
9    justified its decision stating: “it is enough to note that respondents are not asking for
10   review of an order of removal; they are not challenging the decision to detain them in
11   the first place or to seek removal; and they are not even challenging any part of the
12   process by which their removability will be determined.” Id. at 841.
13         Plaintiff’s case does not fit into these exceptions laid out by the Supreme Court.
14   Plaintiff does not challenge removal, the decision to be detained, or the process in
15   determining removability. Plaintiff solely challenges the manner in which she was
16   arrested, which is independent from the decision to remove her. Accordingly,
17   Plaintiff is not barred by Sections 1252(a)(5), (b)(9).
18         c. 12(b)(6): APA Reviewability
19         Next, Defendant argues that Plaintiff cannot obtain APA review of her claims
20   because Plaintiff does not challenge a final agency action, but actions by individual
21   ICE officers.
22         Under 5 U.S.C. § 704, a plaintiff must challenge a “final agency action” to
23   obtain APA review. An agency action is final when it “mark[s] the consummation of
24   the agency’s decision-making process” and it is “one by which rights or obligations
25   have been determined, or from which legal consequences will flow.” Bennett v.
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     Spear, 520 U.S. 154, 178 (1997). Courts tend to be more “pragmatic” and “flexible”
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     with the finality element and “focus on the practical and legal effects of the agency
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                                                12.
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1    action[.]” Oregon Natural Desert Ass’n v. U.S. Forest Service, 465 F.3d 977, 982 (9th
2    Cir. 2006)). Additionally, “[e]ven if final, an agency action is reviewable under the
3    APA only if there are no adequate alternatives to APA review in court.” U.S. Army
4    Corps of Engineers v. Hawkes Co., 136 S. Ct. 1807, 1815 (2016); 5 U.S.C. § 704.
5          First, Defendants challenge the finality of the Private Contractor Arrest Policy
6    and deny its existence. Defendants argue that this policy is at most a mere “statement
7    of policy,” which cannot be “final” because Plaintiff has not shown it has been
8    applied or implemented. (Mot. at 22.) However, Plaintiff’s Complaint sets forth
9    detailed allegations supporting the existence of such a policy and its current
10   implementation. (See Compl. ¶¶ 29–37, 63, ¶¶ 66–81.) For example, Plaintiff alleges
11   that the policy is reflected in the contract between ICE and G4S for the transportation
12   of individuals in ICE custody. (Id.) Plaintiff alleges that there have been repeated
13   immigration arrests conducted by G4S officers over several years, as contemplated by
14   the contract and other documents. (Id. ¶¶ 66–81.) Thus, the Court finds that Plaintiff
15   has sufficiently alleged that this policy is not merely an unimplemented “statement of
16   policy.” At this early stage in the proceedings, the Court finds that Plaintiff has
17   sufficiently alleged a “final agency action.”
18         Second, Defendants argue that Plaintiff’s APA claim fails because she has an
19   adequate alternative remedy and thus cannot obtain APA review. (Mot. at 23.)
20   However, Defendants have identified no alternative remedy that is adequate.
21   Plaintiffs argue that neither a petition for review, nor a custody review, nor a habeas
22   petition, nor money damages are adequate alternatives because they do not offer the
23   remedy sought here—enjoining on a class-wide basis ICE’s alleged Private Contractor
24   Arrest Policy. (Opp’n at 24.)
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           The Court agrees that a petition for review is inadequate because the relief
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     sought in this action has nothing to with class members’ removal proceedings. A
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     custody review by an immigration judge and a federal habeas petition are likewise
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                                               13.
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1    inadequate because Plaintiff challenges the manner of her arrest, not her immigration
2    detention. Money damages are not an adequate substitute as Plaintiff seeks injunctive
3    relief. See Scholl v. Mnuchin, 494 F. Supp. 3d 661, 680 (N.D. Cal. 2020) (alternative
4    remedy is inadequate where it does not provide for the injunctive relief sought); see
5    also Bowen v. Massachusetts, 487 U.S. 879, 905 (1988) (money judgment was not
6    adequate substitute for prospective relief).
7            While true that “the alternative remedy need not provide relief identical to relief
8    under APA,” Garcia v. Vilsack, 563 F.3d 519, 522 (D.C. Cir. 2009), an alternative
9    remedy offering only “doubtful and limited relief” does not displace APA review.
10   Scholl, 494 F. Supp. 3d at 681 (quoting Bowen, 487 U.S. at 901). Accordingly, the
11   Court finds that Plaintiff has shown that only the APA affords adequate relief to
12   Plaintiff and potential class members.
13      V.      CONCLUSION
14      For the foregoing reasons, Defendants’ Motion to Dismiss is DENIED.
15   IT IS SO ORDERED.
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     Dated: September 01, 2021         _______________________________________
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                                       HONORABLE ANDRÉ BIROTTE JR.
20                                     UNITED STATES DISTRICT COURT JUDGE
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